18-11094-scc    Doc 235     Filed 07/18/19    Entered 07/18/19 20:52:21       Main Document
                                             Pg 1 of 2


O’MELVENY & MYERS LLP
Peter M. Friedman (pro hac vice forthcoming)
1625 Eye Street, NW
Washington, D.C. 20006
Telephone: (202) 383-5300
Facsimile: (202) 383-5414
E-mail: pfriedman@omm.com

Daniel S. Shamah
Diana M. Perez
Seven Times Square
New York, New York 10036
Telephone: (212) 326-2000
Facsimile: (212) 326-2061
E-mail: dshamah@omm.com
         dperez@omm.com

Independent Counsel to the Foreign Representative


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:
                                                       Chapter 15
PERFORADORA ORO NEGRO,
S. DE R.L. DE C.V., et al.,                            Case No. 18-11094 (SCC)
                                                       (Jointly Administered)
Debtors in a Foreign Proceeding.


         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that O’Melveny & Myers LLP (“O’Melveny”) hereby appears

in the above-captioned cases pursuant to Rule 9010(b) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) as independent counsel for Fernando Pérez-Correa

Camarena, in his capacity as Foreign Representative of Integradora de Servicios Petroleros Oro

Negro, S.A.P.I. de C.V. and Perforadora Oro Negro, S. de R.L. de C.V., with respect to certain

specific matters pending before this Court in the above-referenced cases. O’Melveny requests,

pursuant to Bankruptcy Rules 9007 and 9010(b), that all notices given or required to be given in
18-11094-scc    Doc 235     Filed 07/18/19    Entered 07/18/19 20:52:21       Main Document
                                             Pg 2 of 2


these cases and all papers served or required to be served in these cases be given to and served

upon the undersigned at the following office address, telephone numbers and e-mail address:

                                   Peter M. Friedman (pro hac vice forthcoming)
                                   O’MELVENY & MYERS LLP
                                   1625 Eye Street, NW
                                   Washington, D.C. 20006
                                   Telephone: (202) 383-5300
                                   Facsimile: (202) 383-5414
                                   E-mail: pfriedman@omm.com

                                   Daniel S. Shamah
                                   Diana M. Perez
                                   O’MELVENY & MYERS LLP
                                   Seven Times Square
                                   New York, New York 10036
                                   Telephone: (212) 326-2000
                                   Facsimile: (212) 326-2061
                                   E-mail: dshamah@omm.com
                                            dperez@omm.com

       This Notice of Appearance is not and shall not be construed as a waiver of any of the

Foreign Representative’s jurisdictional, substantive, or procedural rights and remedies in

connection with the above-captioned proceeding, all of which are hereby expressly reserved.



Dated: July 18, 2019                         Respectfully submitted,
       New York, New York
                                             /s/ Daniel Shamah
                                             Daniel S. Shamah
                                             O’MELVENY & MYERS LLP
                                             Times Square Tower
                                             Seven Times Square
                                             New York, New York 10036
                                             Telephone: (212) 326-2000
                                             Facsimile: (212) 326-2061
                                             E-mail: dshamah@omm.com

                                             Independent Counsel to the Foreign Representative




                                               2
